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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                         JACKSONVILLE DIVISION

UNITED STATES OF AMERICA

v.                                           CASE NO: 3:18-cr-142-J-39MCR

JAMES EDWARD PHILLIPS, III                   ORDER ON MOTION FOR
                                             SENTENCE REDUCTION UNDER
                                             18 U.S.C. § 3582(c)(1)(A)


                                     ORDER

       Upon motion of     the defendant     the Director of the Bureau of Prisons for

a reduction in sentence under 18 U.S.C. § 3582(c)(1)(A), and after considering the

applicable factors provided in 18 U.S.C. § 3553(a) and the applicable policy

statements issued by the Sentencing Commission,

IT IS ORDERED that the motion is:

     DENIED after complete review of the motion on the merits.

           FACTORS CONSIDERED

       Defendant James Edward Phillips, III, is a 46-year-old inmate incarcerated at

Jesup FCI, serving a 120-month term of imprisonment for four counts of distributing

cocaine and two counts of possession of a firearm by a convicted felon. (Doc. 52,

Judgment). According to the Bureau of Prisons (BOP), he is scheduled to be released

from prison on March 20, 2027. Phillips seeks compassionate release because of the

presence of Covid-19 in his prison and because he has chronic kidney disease,

hypertension, and “chronic nasal and sinus illnesses” that allegedly make him more

susceptible to Covid-19. (Doc. 83, Motion for Compassionate Release). Phillips seeks
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a reduction of his sentence to 36 months, or alternatively, immediate release.

      As a threshold matter, Phillips has a pending appeal from his conviction and

sentence. (See Doc. 58, Notice of Appeal); United States v. Phillips, No. 19-14075

(11th Cir.). Ordinarily, the filing of a notice of appeal divests the district court of

jurisdiction “over the aspects of the case involved in the appeal.” United States v.

Diveroli, 729 F.3d 1339, 1341 (11th Cir. 2013). However, Rule 37 of the Federal Rules

of Criminal Procedure (“Rule(s)”) gives a district court authority to issue certain types

rulings on a motion despite a pending appeal. Under that Rule,

      If a timely motion is made for relief that the court lacks authority to
      grant because of an appeal that has been docketed and is pending, the
      court may:

             (1) defer considering the motion;

             (2) deny the motion; or

             (3) state either that it would grant the motion if the court
             of appeals remands for that purpose or that the motion
             raises a substantial issue.

Fed. R. Crim. P. 37(a).

      Phillips has filed a “timely motion” for compassionate release because the

record shows he has satisfied § 3582(c)(1)(A)’s exhaustion requirement. Phillips

submitted two requests for a reduction in sentence to the warden of his facility: one

on May 26, 2020 and one on June 30, 2020. (Doc. 83-1 at 1, 4). The warden denied the

first request on June 23, 2020 and denied the second request on August 3, 2020. (Id.

at 2, 5-6). Because more than 30 days have passed since Phillips submitted his

requests to the warden, he has exhausted his administrative remedies. See 18 U.S.C.




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§ 3582(c)(1)(A); United States v. Smith, –– F. Supp. 3d ––, 2020 WL 5106694, at *3-4

(M.D. Fla. Aug. 31, 2020). Thus, the Court has jurisdiction under Rule 37(a).

      A movant for compassionate release bears the burden of proving that a

reduction in sentence is warranted. United States v. Heromin, No. 8:11-cr-550-T-

33SPF, 2019 WL 2411311, at *2 (M.D. Fla. Jun. 7, 2019); cf. United States v.

Hamilton, 715 F.3d 328, 337 (11th Cir. 2013) (a movant under § 3582(c)(2) bears the

burden of proving that a sentence reduction is appropriate). “Given the permissive

language [of § 3582(c)(1)(A)], a district court's decision whether to grant or deny a

defendant's request for a sentence reduction is discretionary.” United States v.

Winner, No. 20–11692, 2020 WL 7137068, at *2 (11th Cir. Dec. 7, 2020). As the Third

Circuit Court of Appeals has observed, the mere existence of Covid-19 cannot

independently justify compassionate release, “especially considering BOP’s statutory

role, and its extensive and professional efforts to curtail the virus’s spread.” United

States v. Raia, 954 F.3d 594, 597 (3d Cir. 2020).

      The Court assumes, for the sake of discussion, that Phillips has a serious

medical or physical condition, such that he is eligible for a sentence reduction under

18 U.S.C. § 3582(c)(1)(A). The record shows that FCI Jesup’s Health Services

Department has diagnosed Phillips with Stage 3 (moderate) chronic kidney disease

and hypertension. (See Doc. 83-1 at 2). According to the Centers for Disease Control

(CDC), chronic kidney disease is known to increase the risk of serious illness from

Covid-19, while high blood pressure might increase the risk of severe infection. 1 The



1     https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-with-


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CDC has not identified “chronic nasal and sinus illnesses” as affecting the risk of

serious infection. Chronic kidney disease may not qualify as an extraordinary and

compelling circumstance in normal times, but the Court assumes that it does in the

context of Covid-19. 2

       Nevertheless, the sentencing factors under 18 U.S.C. § 3553(a) do not support

a reduction in sentence. Although chronic kidney disease is a condition that increases

Phillips’s risk from Covid-19, he does not appear to be at imminent danger of severe

illness. Phillips is not elderly, and his conditions are treated by medication. According

to the warden’s letter denying his request for a sentence reduction, Phillips’s kidney

disease “is monitored and managed through chronic care visits.” (Doc. 83-1 at 2). The

warden stated that Phillips is “currently stable, compliant with medications and

do[es] not meet the criteria for a Reduction in Sentence for a terminal or debilitated

condition.” (Id.).

       Moreover, the Court determined that a term of 120 months in prison was

warranted to accomplish the statutory purposes of sentencing, including the need to

reflect the seriousness of the offense, to promote respect for the law, and to afford

adequate deterrence. At the sentencing hearing, the Court spoke to Phillips about

how, although he expressed great insight into his own behavior, his actions have not



medical-conditions.html.
2      The Court recognizes that there is a split of authority over whether district courts are
bound by the list of extraordinary and compelling reasons contained in U.S.S.G. § 1B1.13,
cmt. 1(A)-(D). See, e.g., United State v. Ruffin, 978 F.3d 1000, 1006–08 (6th Cir. 2020); United
States v. Brooker, 976 F.3d 228, 234 (2d Cir. 2020). The Court’s decision does not depend on
the resolution of that issue because it would reach the same conclusion if it had independent
authority to identify extraordinary and compelling reasons.


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reflected his words. (See Doc. 65, Sentencing Transcript at 51-57). Phillips has

repeatedly broken the law, as reflected by the criminal history contained in the

Presentence Investigation Report (PSR). (Doc. 48, PSR at ¶¶ 38-51). His juvenile

adjudications included burglary of a dwelling, attempted burglary of a dwelling, and

sexual battery with a deadly weapon or causing serious injury to a victim aged 12 or

younger. (Id. at ¶¶ 38-40). His adult criminal convictions included armed burglary

(id. at ¶¶ 43, 51), burglary (id. at ¶ 44), battery on a law enforcement officer (id. at ¶¶

46, 48), carrying a concealed firearm (id. at ¶ 47), armed burglary with assault and

battery (id. at ¶ 49), and kidnapping with a weapon (id. at ¶ 51).

        As the Court explained at sentencing, a 10-year term of imprisonment was

warranted to protect the public and to teach Phillips the need to follow the law. (See

Sentencing Tr. at 56-57). As of today, Phillips has completed only 28 months of his

prison sentence, or 23%, dating from his arrest on September 12, 2018. (See PSR at

p. 1). In view of all the § 3553(a) factors, reducing Phillips’s sentence to 36 months or

time served is not warranted at this time. Doing so would fail to reflect the

seriousness of the offense, promote respect for the law, afford adequate deterrence,

and protect the public. Accordingly, Defendant James Edward Phillips, III’s Motion

for Compassionate Release (Doc. 83) is DENIED.

        DONE AND ORDERED at Jacksonville, Florida this 12th day of January,

2021.




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Copies:
Defendant
Counsel of record




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